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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA


WARREN LESTER, ET AL.                                                    CIVIL ACTION

VERSUS                                                                   NO. 14-1824

EXXON MOBIL CORP., ET AL.                                                SECTION “L” (2)


                                       ORDER & REASONS

        Before the Court are two motions to dismiss without prejudice filed by Plaintiffs Herman

LeBlanc, R. Doc. 569, and Donnie Beasley, R. Doc. 572. The motions are opposed. R. Doc. 579.

Plaintiffs have filed a reply. R. Doc. 590. Having heard oral argument on the motions on April 3,

2019, R. Doc. 594, considered the applicable law, and the arguments of the parties, the Court is

now ready to rule.

  I.    BACKGROUND

        Plaintiffs in the instant Lester action were allegedly exposed to naturally occurring

radioactive material (“NORM”) associated with the cleaning of used oilfield pipe at pipe yards in

Harvey, Louisiana, including the “Grefer Tract,” nearby tracts of land, and tracts of land in other

locations in Louisiana, Texas, Mississippi, and Oklahoma. These Plaintiffs are individuals residing

in several states who either worked at, or lived near, these facilities. The Lester Plaintiffs, a number

of whom allege to have contracted cancer from NORM, seek damages for personal injury, medical

monitoring, property damage, and punitive damages.

        Lester has a lengthy procedural history. In 2002, over 600 Plaintiffs filed a single petition

(the “Lester petition”) seeking damages in Civil District Court for the Parish of Orleans, State of

Louisiana. Since 2002, the state court proceedings have disposed of various Plaintiffs’ claims

through “trial flights,” settlements, or other dismissals, such that just over 500 Plaintiffs now
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remain. The state court has systemically grouped up to twelve Plaintiffs’ like-claims together for

trial flights. According to Plaintiffs, none of the completed trial flights have had preclusive effect

on subsequent trial flights.

        One of the Plaintiffs included in the Lester petition was Cornelius Bottley, who died from

esophageal cancer in 2012. On July 16, 2014, three members of his surviving family filed a

separate Bottley action, also in Civil District Court in Orleans Parish. On July 31, 2014, with an

upcoming trial flight, these Bottley Plaintiffs moved the state court to transfer and consolidate their

case with the Lester state action. Based on this motion for consolidation, Bottley Defendant Exxon

Mobil Oil removed both Lester and Bottley to this Court under the Class Action Fairness Act

(“CAFA”). Plaintiffs moved to remand the cases to state court. This Court, however, denied

remand on October 23, 2014, and consolidated Lester and Bottley. R. Docs. 45, 46. The Court

explained that Plaintiffs’ motion to consolidate in state court constituted a “proposal for joint trial,”

particularly where over 500 plaintiffs remained at the time the motion to consolidate was filed.

Thus, CAFA bestowed federal “mass action” jurisdiction. Plaintiffs appealed this decision, and in

June 2018, the Fifth Circuit upheld this Court’s denial of the motion to remand. R. Doc. 383.

Subsequently, on January 31, 2019, Shell moved for summary judgment; however, after finding

there were still significant issues of material fact regarding Shell’s contribution to Plaintiffs’

injuries, the Court denied Shell’s motion. R. Doc. 566.

        The instant motions relate to two Lester Plaintiffs—Donnie Beasley and Herman LeBlanc.

These Plaintiffs’ claims have been pending in this action since 2005. R. Doc. 569-1 at 1; R. Doc.

572-3 at 1. On December 19, 2016, Beasley was diagnosed with a bone tumor on his spine, which

was subsequently determined to be multiple myeloma. R. Doc. 572-3 at 2. On July 30, 2018,

LeBlanc was diagnosed with bladder cancer. R. Doc. 569-1 at 2. Rather than amending their claims
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in the instant matter to include additional defendants, Beasley and LeBlanc filed separate suits in

Louisiana State Court. 1 R. Doc. 572-3 at 1. Of the nine defendants in the state court action, seven

are also defendants before this Court in Lester. 2

 II.    PENDING MOTION

        Both Beasley and LeBlanc filed motions pursuant to Federal Rule of Civil Procedure

41(a)(2) seeking dismissal of their claims before this Court without prejudice. R. Doc. 569-1 at 1;

R Doc. 572-3 at 1. In their motions, Plaintiffs assert they filed their claims in state court to avoid

naming additional defendants in the Lester mass action. R. Doc. 569-1 at 1; R Doc. 572-3 at 1.

Next, Plaintiffs contend Defendants will not suffer any legal prejudice if the claims currently

before this Court are dismissed. Id. Finally, Plaintiffs argue the state forum offers them an

opportunity to have their cases tried more quickly in light of the recent developments in their

cancers, which they contend could become more severe “quickly[,] without warning.” R. Doc.

569-1 at 5; R Doc. 572-3 at 5.

        In opposition, Defendants argue they will suffer legal prejudice should the Court dismiss

Plaintiffs and their claims without prejudice. R. Doc. 579 at 4. In support of their argument,

Defendants point to two factors the Fifth Circuit has identified as constituting legal prejudice that

Defendants contend are present in this case. R. Doc. 579 at 4. First, Defendants argue Plaintiffs’

motions to dismiss are a way to escape an adverse ruling from this Court and circumvent to an

expected adverse result in state court. R. Doc. 579 at 4–5. Specifically, Defendants submit

Plaintiffs merely seek to avoid this Court’s denial of the motion to remand Lester, which has been


        1
        On March 24, 2017, Beasley filed suit in the 24th Judicial District Court for Jefferson Parish; on
November 26, 2018, LeBlanc and his wife filed suit in the 16th Judicial Court for the Parish of St. Mary.
        2
          These Defendants include BP Products North America Inc., BP America Production Company, Atlantic
Richfield Company, Intracoastal Tubular Services, Inc., Shell Oil Company, Shell Offshore, Inc. and SWEPI LP.
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affirmed by the Fifth Circuit. R. Doc. 579 at 4; R. Doc. 383. With respect to their pending claims

in state court, Defendants argue Plaintiffs’ motions for voluntary dismissal are a means to

circumvent a potentially adverse ruling in the state court proceeding—namely, a stay of their state

court cases under the exception of lis pendens. R. Doc. 579 at 6. Second, Defendants contend the

far stage at which this litigation has reached cautions against dismissal. Defendants assert they

have expended substantial amounts of time, money, and effort litigating this case over sixteen

years, five of which have been before this Court following removal. R. Doc. 579 at 7. Defendants

also argue judicial efficacy supports denial of Plaintiffs’ motions. R. Doc. 579 at 8.

        In their reply, Plaintiffs contend Defendants’ claim that they will be prejudiced by a

dismissal without prejudice is “legally insignificant.” R. Doc. 590 at 1. Because granting the

motion would not prejudice Defendants as to “some legal interest, some legal claim, some legal

argument,” such as “the loss of an affirmative defense . . . [or a] statute of limitations [defense],”

Plaintiffs argue Defendants will not suffer any legal prejudice. Id. at 1–2. Plaintiffs further contend

that the discovery undergone so far in the Lester action would be applicable to the case whether

Plaintiffs’ claims proceed in this Court or in state court. Id. at 2. Thus, Plaintiffs argue, “There will

be no additional expense, work or other prejudice if LeBlanc and Beasley are permitted to proceed

in state court.” Id. at 3.

III.    LEGAL STANDARD

        Federal Rule of Civil Procedure 41(a)(2) provides that, in certain circumstances, an action

may be voluntarily dismissed without prejudice “at the plaintiff’s request only by court order, on

terms that the court considers proper.” FED. R. CIV. P. 41(a)(2). In general, motions for voluntary

dismissal under Rule 41(a)(2) should be freely granted “unless the defendant will suffer some plain

legal prejudice other than the mere prospect of a second lawsuit.” Manshack v. Sw. Elec. Power
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Co., 915 F.2d 172, 174 (5th Cir. 1990). As the Fifth Circuit has explained, a defendant may suffer

plain, legal prejudice from a plaintiff’s voluntary dismissal without prejudice if any of the

following factors are present: (1) the plaintiff seeks dismissal after an adverse ruling or to

circumvent an expected adverse result; (2) the case has proceeded far in the litigation; or (3)

dismissal would strip the defendant of an otherwise available defense. Id. The mere fact that a

plaintiff “may obtain some tactical advantage over the defendant in future litigation is not

ordinarily a bar to dismissal.” Ikospentakis v. Thalassic Steamship Agency, 915 F.2d 176, 177 (5th

Cir. 1990). Further, the Fifth Circuit has noted “that additional expense will be incurred in

relitigating issues in another forum will not generally support a finding of ‘plain legal prejudice’

and denial of a Rule 41(a)(2) motion to dismiss.” Elbaor v. Tripath Imaging, Inc., 279 F.3d 314,

317 n.3 (5th Cir. 2002) (citing Manshack, 915 F.2d at 174, n.2). But see Hartford Acc. & Indem.

Co. v. Costa Lines Cargo Services, Inc., 903 F.2d 352, 360 (5th Cir. 1990) (“Where the plaintiff

does not seek dismissal until a late stage and the defendants have exerted significant time and

effort, the district court may, in its discretion, refuse to grant a voluntary dismissal.”).

IV.     ANALYSIS

        “The purpose of Rule 41(a)(2) is primarily to prevent voluntary dismissals which unfairly

affect the other side, and to permit the imposition of curative conditions.” 9 Charles Wright &

Arthur Miller, Federal Practice and Procedure § 2364 at 165 (1971) (citations omitted). “If the

court finds that legal prejudice does not exist, then the motion should be granted.” Stephens v. Cap.

Cty. Mut. Fire Ins. Co., No. 09-759, 2009 WL 10707943, at *3 (E.D. Tex. Nov. 23, 2009). Thus,

the Court will consider in turn each of Defendants’ arguments that they will suffer legal prejudice

if the Court grants Plaintiffs’ motions.



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             a. Avoiding an Adverse Ruling

         Defendants first argue Plaintiffs’ motions are an attempt to avoid this Court’s order denying

Plaintiffs’ motion to remand and the Fifth Circuit’s ruling affirming that order. Next, Defendants

contend granting Plaintiffs’ motion would deprive them of their lis pendens defense in Plaintiffs’

pending state court actions. 3 Because these two issues are inter-twined, the Court considers them

together.

         In Phillips v. Illinois Central Gulf Railroad., 874 F.2d 984, 987–88 (5th Cir. 1989), after

the Texas district court transferred venue to Louisiana, the defendant moved for summary

judgment based on Louisiana’s one-year prescription period, a defense evident on the face of the

plaintiff’s complaint. Id. at 985. The plaintiff then moved for dismissal without prejudice seeking

to refile his suit in state court, as the prescription period in other possible jurisdictions exceeded

the statute applicable in Louisiana, which the district court denied. Id. Faced with an adverse

summary judgment on the statute of limitations, the plaintiff appealed the district court’s denial of

his Rule 41(a)(2) motion. The Fifth Circuit affirmed, holding that a dismissal without prejudice

would have legally prejudiced the defendant, as the statute of limitations had not expired in Texas

or Mississippi, where the plaintiff intended to refile. Id. at 987. Because allowing the plaintiff to

refile his claim in a different venue would strip the defendant of an absolute defense, the circuit

court affirmed the district court’s denial of the Rule 41(a)(2) motion. Id.

         Contrastingly, in Manshack v. Southern Electric Power Co., 915 F. 2d 172 (5th Cir. 1990),

the Fifth Circuit considered the district court’s grant of the plaintiffs’ motion for dismissal without


         3
           The exception of lis pendens, Latin for “suit pending,” is embodied in Louisiana Code of Civil Procedure
article 531, which provides: “When two or more suits are pending in a Louisiana court or courts on the same
transaction or occurrence, between the same parties in the same capacities, the defendant may have all but the first
suit dismissed by excepting thereto as provided in Article 925. When the defendant does not so except, the plaintiff
may continue the prosecution of any of the suits, but the first final judgment rendered shall be conclusive of all.”
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prejudice. There, the defendant argued the plaintiff sought dismissal solely to avoid the district

court’s adverse choice-of-law ruling. The Fifth Circuit affirmed the dismissal on appeal,

distinguishing its holding in Phillips. As the Fifth Circuit explained, regardless of the venue, the

defendant would be “governed by exactly the same choice of law principles in Texas federal or

state court,” and therefore, unlike the defendant in Phillips, the defendant in Manshack would “not

be stripped of an absolute defense.” Id. at 175.

       In this case, the adverse ruling Defendants point to is this Court’s denial of Plaintiffs’

motion to remand. The Court notes at the outset that forum shopping is an insufficient basis upon

which to establish legal prejudice. Brown v. Schlumberger Tech. Corp., No. 01-3755, 2002 WL

550986, at *2 (E.D. La. Apr. 11, 2002). The issue before this Court is more akin to the issue

presented in Manshack than the issue before the Fifth Circuit in Phillips. As was the case in

Manchack, here Plaintiffs’ claims will be governed by the same law whether they proceed in state

court or in this court. See Klaxon Co. v. Stentor Elec. Mfg. Co., 313 U.S. 487, 496 (1941).

Moreover, even assuming Plaintiffs are attempting to avoid this Court’s denial of their motion to

remand, the Fifth Circuit affirmed the district court’s grant of the plaintiffs’ motion to dismiss

without prejudice in Manchack, despite the district court’s having previously denied the plaintiffs’

motion to remand. Thus, the Court will not deny Plaintiffs’ motion on this basis.

       With respect to Defendants’ losing the availability of their lis pendens exception in state

court, this defense is not absolute, such as an exception based on the statute of limitations; rather,

the exception of lis pendens simply forces the case to proceed in the court in which the case was

first filed. Again, the same law would apply to Plaintiffs’ claims regardless of whether the case

proceeds in state or federal court. Because granting Plaintiffs’ motion to dismiss would not “allow



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[P]laintiff[s] to select a different body of law unfavorable to [D]efendant[s’] position,” the Court

will not deny Plaintiffs’ motion to dismiss on this basis. See Manshack, 915 F.2d at 175.

           b. Timing, Cost, and Other Considerations

       Finally, Defendants argue they will suffer legal prejudice from the dismissal of these two

Plaintiffs, as (1) this case has been pending before this Court since August 2014, (2) the parties

have undergone extensive motions practice, and (3) allowing both this CAFA mass action and the

two prospective individual actions to proceed simultaneously will force Defendants to litigate

substantially similar claims in multiple venues. In support of their position, Defendants point to

Stephens v. Capitol Country Fire Insurance Co., No. 09-759, 2009 WL 10707943, at *3 (E.D. Tex.

Nov. 23, 2009) and Bullard v. Burlington Northern Santa Fe Railway Co., No. 07-6883, 2008 WL

4104355 (N.D. Ill. Aug. 29, 2008).

       In Stephens, the plaintiffs initially filed suit in state court, but the defendants subsequently

removed the case pursuant to CAFA. 2009 WL 10707943, at *1. After the court denied the

plaintiffs’ motion to remand, the plaintiffs sought voluntary dismissal of their claims. Id., at *2.

The defendants opposed the motion, arguing they would suffer legal prejudice. Id. The court

disagreed, noting (1) that the deadline for dispositive motions was a year away, suggesting

“[n]either party ha[d] expended significant effort or expense in preparing for trial”; (2) the

plaintiffs were not seeking to return to state court in order to “evade a likely adverse ruling”; and

(3) the plaintiffs sought “to dismiss the entire putative class action rather than a portion of

Plaintiffs’ claims.” Id., at *3–4. Thus, the court concluded the defendants would not suffer any

legal prejudice and granted the plaintiffs’ 41(a)(2) motion.

       In Bullard, the plaintiffs also initially filed their case in state court, but had their claims

removed to federal court pursuant to CAFA. 2008 WL 4104355, at *1. Unlike Stephens, however,
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following the court’s denial of the plaintiffs’ motion to remand, 53 out of 144 plaintiffs moved to

have their cases dismissed without prejudice. Id. Because the plaintiffs sought dismissal of some,

but not all, of their cases, the court denied the plaintiffs’ motion, reasoning that “[t]o dismiss fifty-

three plaintiffs from this case unconditionally without prejudice would subject defendants to the

possibility of litigating suits based on the same claims in both this Court and in state court—a

circumstance that would largely defeat the purpose of CAFA and significantly increase the expense

and effort required of defendants preparing for and trying at least two trials.” Id., at *10 (footnote

omitted).

        In this case, not only are Plaintiffs seeking to dismiss only two of their claims, both LeBlanc

and Beasley have refiled their claims in two separate state courts. Thus, allowing dismissal of

LeBlanc’s and Beasley’s claims would require Defendants to defend suits based on substantially

similar claims in three different venues. Moreover, unlike the posture of the case in Stephens,

which had only been pending for a short time, this case has been pending before this Court since

August 2014. See R. Doc. 1. Since removal, the Court has ruled on Plaintiffs’ motion to remand,

which was affirmed by the Fifth Circuit, and, although the Court found it was filed prematurely,

the Court has also considered Defendants’ motion for summary judgment. While the Court does

not find Plaintiffs filed their motion to dismiss to avoid these rulings, the Court does find the parties

have invested substantial time and effort in litigating this case and therefore will suffer legal

prejudice should the Court grant Plaintiffs’ motions to dismiss. Moreover, Plaintiffs have not

offered any curative actions this Court could take to prevent Defendants from suffering legal

prejudice. As a result, the Court will deny Plaintiffs’ motions to dismiss without prejudice.




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 V.     CONCLUSION

        For the foregoing reasons;

        IT IS ORDERED that the motions to dismiss without prejudice filed by Plaintiffs Herman

LeBlanc, R. Doc. 569, and Donnie Beasley, R. Doc. 572, be and hereby are DENIED.



        New Orleans, Louisiana on this 5th day of April, 2019.



                                         _________________________________
                                                    Eldon E. Fallon
                                               U.S. District Court Judge




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